          Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 1 of 18


 1
 2
 3
 4
 5
 6
 7
 8                       UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10                                ----oo0oo----
11   UNITED STATES OF AMERICA,
                                             NO. CR. S-99-0433 WBS
12             Plaintiff,
13             v.                            ORDER RE: MOTION TO RECUSE
14   JOHN THAT LUONG,
     MINH HUYNH,
15   HOANG AI LE, and
     THONGSOUK THENG LATTANAPHOM,
16
               Defendants.
17
                                  ----oo0oo----
18
19             After I have worked on this case for nine years, ruled
20   on over 200 motions, and presided over more than forty days of
21   jury trial, defendants move to disqualify me as the trial judge.
22   The grounds for the motion fall into essentially three
23   categories: (1) rulings and statements I have made in this case;
24   (2) rulings I made in other cases; and (3) the fact that I was
25   previously victim of a crime which defendants characterize as
26   similar to those charged in this case.
27                   Rulings and Statements in this Case
28             Defendant Minh Huynh complains that I (1) denied his

                                         1
          Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 2 of 18


 1   pretrial motions, (2) intimidated him into giving up his right to
 2   represent himself by calling him “stupid,” (3) denied his
 3   discovery motion, (4) denied him a psychiatrist, (5) rejected a
 4   requested instruction, and (6) inappropriately told the jury that
 5   he was responsible for the twelve-year delay in getting to trial
 6   because he kept firing his lawyers.       Defendant John That Luong
 7   adds the grounds that (1) I overruled his attorney’s objection to
 8   certain of the prosecutor’s comments in closing argument and (2)
 9   in ruling on his attorney’s motion to withdraw after representing
10   him through two trials I suggested that he and his attorney were
11   acting in concert to obstruct the proceedings.
12             Disqualification of a district judge for bias or
13   prejudice is controlled by 28 U.S.C. § 144.        Previously, courts
14   construed section 144 to require that to be disqualifying the
15   alleged bias and prejudice must stem from an extrajudicial source
16   and result in an opinion on the merits on some basis other than
17   what the judge learned from his participation in the case.              See
18   United States v. Grinnell Corp., 384 U.S. 563, 583 (1966); see
19   also, e.g., United States v. Carignan, 600 F.2d 762, 763 (9th
20   Cir. 1979) (“28 U.S.C. § 144 . . . requires that the bias or
21   prejudice of the judge be twofold: (1) personal, i.e. directed
22   against the party, and (2) extra-judicial.”) (citations omitted).
23   The Supreme Court, however, has now explained that the
24   “extrajudicial source” is only a factor, albeit “significant (and
25   often determinative).”     Liteky v. United States, 510 U.S. 540,
26   551, 555 (1994) (“The fact that an opinion held by a judge
27   derives from a source outside judicial proceedings is not a
28   necessary condition for ‘bias or prejudice’ recusal, since

                                         2
          Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 3 of 18


 1   predispositions developed during the course of a trial will
 2   sometimes (albeit rarely) suffice.”).
 3             I did deny Minh Huynh’s pretrial motions because they
 4   had no merit, and I refused the jury instruction to which he
 5   refers.   I do not recall denying any request for a psychiatrist,
 6   but the docket sheet in this case contains 1184 entries, and it
 7   is possible that over the nine year course of this litigation I
 8   denied such a request.     (I do remember granting his requests to
 9   be examined by a dentist and to have a doctor look into an
10   alleged abdominal problem about which he was complaining.)              Nor
11   do I recall ever telling the jury at any time before they reached
12   a verdict that Minh Huynh was responsible for the delay in
13   bringing the case to trial.     In fact he, as well as the other
14   defendants, did cause much of the delay by serially moving to
15   fire their attorneys as each of the trial dates approached, and I
16   may well have explained that to the jury after the trial was
17   over, because I believe they have a right to know why the wheels
18   of the justice system in which they have been asked to
19   participate appear to move so slowly.
20             I also do not recall using the word “stupid” in the
21   context of his request to represent himself pursuant to Faretta
22   v. California, 422 U.S. 806 (1975).       If I did, the record will
23   speak for itself and will properly reflect the context.          The law
24   requires me to explain the dangers and disadvantages of self-
25   representation to the defendant.        Snook v. Wood, 89 F.3d 605, 613
26   (9th Cir. 1996).    The benchbook which I use (Benchbook for U.S.
27   District Judges, Fifth Edition 2007) was provided by the Federal
28   Judicial Center, and suggests that in taking a Faretta waiver the

                                         3
          Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 4 of 18


 1   court should “say to the defendant something to this effect:”
 2        I must advise you that in my opinion, a trained lawyer would
          defend you far better than you could defend yourself. I
 3        think it is unwise of you to try to represent yourself. You
          are not familiar with the law. You are not familiar with
 4        court procedure. You are not familiar with the rules of
          evidence. I strongly urge you not to try to represent
 5        yourself.
 6   Id., at 7.    It is quite possible that in giving this advice I
 7   used, or more likely defendant interpreted my remarks to use, the
 8   word “stupid.”     However, whatever I said did not intimidate Minh
 9   Huynh to give up his right to self representation as he alleges,
10   because notwithstanding my admonitions he elected after the
11   Faretta colloquy to represent himself.       It was not until after he
12   was well into the trial, apparently recognizing his own
13   shortcomings as a lawyer, that he changed his mind and asked the
14   court to allow his advisory counsel to represent him for the
15   remainder of the trial.
16                Because “judicial rulings alone almost never constitute
17   a valid basis for a bias or partiality motion,”1 I do not believe
18   that any of the above grounds are sufficient to disqualify me as
19   the trial judge in this case.
20                           Rulings in Other Cases
21                In his Reply to the government’s opposition to his
22   motion, Minh Huynh refers to the sentence I imposed upon Huy Chi
23   (Jimmy) Luong in the companion case of United States v. Luong, et
24   al., Cr. No. S-96-350, which he says, without any authority, was
25
26        1
               Liteky, 510 U.S. at 545 (citation omitted); accord
     United States v. Azhocar, 581 F.2d 735, 739 (9th Cir. 1978)
27   (“Adverse rulings do not constitute the requisite bias or
     prejudice of § 144. . . . There is thus no merit to appellant’s
28   claim of bias based on adverse rulings.”) (citations omitted).

                                         4
          Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 5 of 18


 1   “30 years more than any comparable cases with the same offense
 2   and characteristics.”    He also attaches a newspaper article
 3   referring to the sentence I imposed upon a defendant in another,
 4   unrelated, case involving the death of a nine-year old Viet
 5   Namese girl from a firebomb which the defendant in that case
 6   threw through the window of the home in which she was sleeping.
 7   (United States v. Tu Minh Truong, Cr. No. S-00-211.)
 8             Rulings in other cases are treated the same, for
 9   purposes of a motion to disqualify, as rulings in this case.            See
10   Liteky, 510 U.S. at 545, 555 (“[O]pinions formed by the judge on
11   the basis of facts introduced or events occurring in the course
12   of the current proceedings, or of prior proceedings, do not
13   constitute a basis for a bias or partiality motion unless they
14   display a deep-seated favoritism or antagonism that would make
15   fair judgment impossible.”) (emphasis added); see also Lewis v.
16   Tuscan Dairy Farms, Inc., 25 F.3d 1138, 1141 (2d Cir. 1994)
17   (rejecting an argument for bias that was based on the judge’s
18   ruling in an unrelated case in which the judge had imprisoned the
19   defendant and held him in contempt of court).
20             I should not have to justify every sentence I have ever
21   imposed in order to defend against a charge of bias.          Suffice it
22   to say I do not believe the previous instances cited by
23   defendants are sufficient to display the kind of deep-seated
24   favoritism or antagonism that would make fair judgment
25   impossible.
26                              Victim of a Crime
27             The final ground urged for recusal is the fact that in
28   1997 I was the victim of an allegedly similar crime.          Initially,

                                         5
          Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 6 of 18


 1   there is a question as to how similar that crime was to the
 2   crimes charged in this case.      The crimes charged here are
 3   conspiracy to commit a robbery affecting interstate commerce; use
 4   of a firearm during a crime of violence; and death caused by use
 5   of a firearm during a crime of violence.        The facts here involved
 6   a home invasion robbery with the object of torturing the
 7   residents to gain access to their business.
 8              In contrast, the incident involving me was not a
 9   robbery affecting interstate commerce, nor did it involve the use
10   of a firearm.   It did not even involve a home invasion.         The
11   facts of that incident are summarized in the attached copy of a
12   news article which appeared in The Sacramento Bee the following
13   morning.   Two young men were attempting to burglarize my house
14   when I surprised them by coming home early.        Although it
15   techniclly turned into a robbery at that point, it was originally
16   intended as a residential burglary.       I was not beaten or
17   tortured, as were the victims in this case.        Rather, the object
18   of the offense was simply to steal my belongings from my house.
19   The two young men were eventually apprehended and charged with
20   simple residential burglary, and my recollection is that they
21   were each sentenced by a state judge to twelve months in the
22   county jail.
23              Assuming some similarity between the crimes, the more
24   important question is whether having been the victim of that
25   crime disqualifies me from presiding as the judge in this case.
26   Precedent with respect to judicial recusal when judges are
27   victims of a violent crime similar to an action before them is
28   scarce.    See Mann v. Thalacker, No. 95-3008, 1996 WL 33423405, at

                                         6
          Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 7 of 18


 1   *9 (N.D. Iowa Oct. 9, 1996) (“This court was unable to find any
 2   case law dealing with a judge’s duty to recuse when he has been a
 3   victim of a crime similar to that for which the defendant is
 4   being tried.”); United States v. Fiat Motors of N. Am., Inc., 512
 5   F. Supp. 247, 250-51 (D.D.C. 1981) (identifying reluctance to
 6   recuse the judge presiding over an automobile recall case who
 7   himself was a past victim of an auto accident because “no case
 8   authority directly on point or similar to the situation here,
 9   involving disqualification or recusal, has been found”).
10             Defendants rely upon the doctrine of “implied bias,”
11   which is more commonly cited as a ground for juror
12   disqualification, and allows for “bias to be implied or presumed
13   from the ‘potential for substantial emotional involvement,
14   adversely affecting impartiality,’ inherent in certain
15   relationships.”   Tinsley v. Borg, 895 F.2d 520, 527 (9th Cir.
16   1990) (quoting United States v. Allsup, 566 F.2d 68, 71 (9th Cir.
17   1977)).   Courts appear willing to apply that same doctrine when
18   determining the propriety of a motion to recuse a judge.          See
19   Liteky, 510 U.S. at 552 (equating the process of weighing
20   judicial impartiality for recusal purposes with the inquiry into
21   a prospective juror’s impartiality for disqualification
22   purposes); Mann, 1996 WL 33423405, at *9 (“[A]nalogous cases
23   involving challenges for cause for potential jurors are therefore
24   instructive in discerning whether a judge should recuse himself
25   in this situation.”).
26              In determining whether a potential juror--who himself
27   or herself was a past victim of a similar violent crime or
28   conduct--could be challenged for bias, courts base their

                                         7
          Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 8 of 18


 1   decisions on considerations such as “the person’s assurances of
 2   objectivity, understanding of the concept of the presumption of
 3   innocence and reasonable doubt, and recognition that the accused
 4   in the present case had not been involved in the prior crime
 5   against the juror.”    Id.    Additional factors for consideration
 6   that are more applicable to a recusal determination include “the
 7   length of time since the victimization, the similarity of the
 8   incidents, and the juror’s [or judge’s] lack of acquaintance with
 9   the present victim.”    Id.
10             A key factor in this analysis seems to be “the
11   similarity of the incidents.”      See Allsup, 566 F.2d at 71 (“That
12   [people] will be prone to favor that side of a cause with which
13   they identify themselves either economically, socially, or
14   emotionally is a fundamental fact of human character.” (quoting
15   Kiernan v. Van Schaik, 347 F.2d 775, 781 (3d Cir. 1965))).              The
16   Ninth Circuit has granted a new trial on the basis of a juror’s
17   implied bias due to “the similarity of the incidents” at least
18   three times.
19             In Allsup, the court presumed that two prospective
20   jurors in a bank robbery trial were biased because they were
21   employed by the bank that had been robbed, though they worked at
22   a different branch.    Id. at 71-72 (“The employment relationship
23   coupled with a reasonable apprehension of violence by bank
24   robbers leads us to believe that bias of those who work for the
25   bank robbed should be presumed.”).       In United States v. Eubanks,
26   591 F.2d 513 (9th Cir. 1979), a juror at a heroin distribution
27   trial was presumed biased because his sons were heroin addicts
28   who were in prison for crimes committed to obtain heroin.          Id. at

                                         8
          Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 9 of 18


 1   517 (“Regardless of the reason for [the juror’s] nondisclosure,
 2   we conclude that his sons’ tragic involvement with heroin bars
 3   the inference that Collins served as an impartial juror.”).
 4               Finally, in Dyer v. Calderon, 151 F.3d 970 (9th Cir.
 5   1998), a Ninth Circuit en banc panel vacated a prior decision
 6   partially based on the implicit bias presumed from a juror’s
 7   failure to disclose that her brother was killed in a similar
 8   manner as the defendant had allegedly murdered the victim.              Id.
 9   at 1982 (“After watching a number of potential jurors disclose
10   relatively minor crimes and get dismissed, [the juror] chose to
11   conceal a very major crime--the killing of her brother in a way
12   that she knew was very similar to the way [defendant] was accused
13   of killing his victims.”).     But see Tinsley v. Borg, 895 F.2d
14   520, 529 (9th Cir. 1990) (no implied bias where juror at rape
15   trial once provided professional counseling services to rape
16   victims).
17               I have been able to find only four cases that dealt
18   directly with a judicial decision whether to recuse a judge
19   because he or she was once a victim of circumstances similar to
20   the matter before the bench.      Those cases are set forth in the
21   margin below.2   Notably, none of the judges recused themselves,
22
          2
               In United States v. Fiat Motors of N. Am., Inc., 512 F.
23   Supp. 247 (D.D.C. 1981), the court held that the mere fact the
     judge presiding over an action forcing an automobile distributor
24   to recall its vehicles had been involved in an automobile
     accident which had eventually resulted in loss of one of his
25   legs--and additionally that he had filed a civil complaint as
     result of the accident--did not show bias or raise doubts as to
26   his impartiality so as to require his recusal. Id. at 250-51.
     The court cautioned that
27
          the logical extension and result of [defendant’s]
28        argument would require [judicial] disqualification in a

                                         9
         Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 10 of 18


 1
 2        substantial number of other proceedings. If, in fact, [a
          judge’s] injuries and losses would cause a reasonable
 3        person to question [a judge’s] ability to render
          impartial judgments on questions of automobile safety and
 4        defects, would it not also lead a litigant to raise
          questions about [a judge’s] impartiality in any personal
 5        injury litigation involving an automobile? If the
          defendant’s position were accepted, would it be proper
 6        for [a judge] to preside in any trial involving a serious
          personal injury claim, whether it stems from a motor
 7        vehicle collision, an aircraft disaster, an industrial
          explosion or any of an endless list of other types of
 8        accidents resulting in serious personal injury?
 9   Id. at 251; see also id. (“The unfortunate incident which [the
     judge] experienced several years ago is, of course, lasting in
10   nature, but it is no more lasting than some of the personal and
     background experiences of other trial judges where
11   disqualification attempts were advanced by a litigant and
     denied.”).
12
               In Mann v. Thalacker, No. 95-3008, 1996 WL 33423405
13   (N.D. Iowa Oct. 9, 1996), the defendant, found guilty of
     kidnapping and attempted murder, asserted that the trial judge’s
14   failure to disclose his own history of sexual abuse and therein
     recuse himself kept defendant from making a knowing, voluntary
15   waiver of his right to a jury trial. Id. at *1. The court held
     that, because the incident took place more than twenty years
16   prior to trial and the judge had openly spoke of the incident
     before the postconviction proceedings, no reasonable person could
17   conclude that the judge would be perceived as being partial. Id.
     at *9 (finding that although “[t]he trial judge was himself the
18   victim of the crime of sexual abuse,” because he “divulged the
     details of these acts . . . prior to the postconviction case” and
19   “these experiences happened nearly twenty years prior to
     [defendant’s] trial,” “[u]nder these circumstances, this court
20   does not believe that a reasonable person could conclude that the
     judge would be perceived as being disqualified under . . .
21   section 455(a)”).
22             The court in United States v. Robbins, 48 M.J. 745
     (A.F. Ct. Crim. App. 1998), emphasized that “it is axiomatic
23   that, the mere fact that a [judge] has been the victim of the
     type offense with which an accused is charged, standing alone,
24   will not constitute sufficient grounds for recusal.” See id. at
     754. The court thus delineated the following three-prong
25   standard in order to guide their recusal inquiry:
26        When the [] judge is asked to recuse himself or herself
          because he or she was the victim of a similar offense,
27        the following factors must be weighed and balanced by the
          [] judge, as follows: 1) the time frame of the offense;
28        was the [] judge victimized in the very recent past or

                                        10
         Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 11 of 18


 1   and when appealed, none of their decisions were overturned.
 2             Unlike rulings or statements I may have made in this or
 3   other cases, however, this final ground urged for recusal is
 4   based on events that occurred outside the context of any judicial
 5   function or proceeding.    Where the affidavit refers to
 6   extrajudicial sources, it may be sufficient to trigger the
 7
          the distant past?; 2) were the facts and surrounding
 8        circumstances of the crime especially egregious so as to
          inflame one’s emotions at the expense of one’s judicial
 9        instincts when recalling the event?; and, 3) if the
          answer to 2 is yes, would a reasonable person with
10        knowledge of all of the relevant facts conclude that
          sufficient time has passed whereby the [] judge’s
11        judicial instincts and temperament are no longer
          compromised?
12
     Id. at 754. In light of this criterion, the court held that
13   there was no reasonable doubt that the judge under review, who
     was a past victim of spousal abuse, was impartial to current
14   defendant charged with spousal abuse because: (1) “the events in
     question occurred 13 years prior to the trial,” (2) “it is clear
15   from the [judge’s] responses that she was in no way inflamed at
     the prospect of being confronted with an instance of spouse
16   abuse,” and (3) “even if she were, at some point in her past,
     inflamed by her personal experience, [the court found] that a
17   reasonable person would conclude from her answers that she has
     put the experience behind her and moved on.” Id.; see also id.
18   (commenting that “a reasonable person understands that judges are
     not grown in, and harvested from, a sterile, idyllic existence
19   frequently referred to as the ‘ivory tower’” but that “[i]n
     fact, our national experience supports the opposite conclusion,
20   which is that the average citizen, civilian or military, prefers
     judges with real-life experiences”).
21
               Finally, in United States v. Zidar, 178 Fed. Appx. 673
22   (9th Cir. 2006) [I have cited to this case even though it is an
     unpublished decision because it is nevertheless helpful in the
23   analysis], the Ninth Circuit concluded that despite the judge’s
     admission that two decades before the instant fraud and
24   misrepresentation case she had brought an unrelated lawsuit that
     included claims of fraud and misrepresentation, the district
25   court correctly found that “[n]o reasonable person could question
     [the judge’s] impartiality in [defendant’s] case merely because,
26   twenty years earlier, she may have been a victim of an unrelated,
     factually dissimilar fraud.” Id. at 678-79. Moreover, the court
27   noted that “since then[, the judge] has presided impartially over
     ‘dozens’ of cases involving allegations of fraud.” Id.
28

                                        11
         Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 12 of 18


 1   provisions of 28 U.S.C. § 144.     See United States v. Sibla, 624
 2   F.2d 864, 868 (9th Cir. 1980) (“If that affidavit is sufficient
 3   on its face, the motion must be referred to another judge for a
 4   determination of its merits under section 144.”).
 5             Even if the assigned judge does not believe the stated
 6   grounds are valid, where the challenge is based on extrajudicial
 7   sources, I believe the more prudent approach is to refer the
 8   motion to another judge for decision.       The “institutional
 9   integrity of the federal courts requires scrupulous protection of
10   public confidence in the judicial process.”        United States v.
11   Bosch, 951 F.2d 1546, 1551 (9th Cir. 1991) (O’Scannlain, J.,
12   dissenting); see also See First Interstate Bank of Ariz., N.A. v.
13   Murphy, Weir & Butler, 210 F.3d 983, 985 (9th Cir. 2000)
14   (“[J]udges . . . are required to preserve the court’s
15   impartiality and the appearance of impartiality.”).3         I will
16   therefore ask the Chief Judge to refer this motion to another
17   judge for decision.
18                                 Timeliness
19             Another issue which may have to be addressed by the
20   judge who decides this motion is its timeliness.        “A motion under
21   section 144 must be timely, i.e., the motion should be made at
22
          3
               Perhaps in an effort to avoid even meritless
23   accusations about the impartiality of rulings on recusal motions,
     the Western District of Washington requires automatic referral of
24   all 28 U.S.C. § 144 recusal motions to a different judge. See W.
     Dist. of Wash. Local R. 8(c) (“Whenever a motion to recuse due to
25   alleged bias or prejudice directed at a judge of this court is
     filed pursuant to 28 U.S.C. § 144, the clerk shall refer it to
26   the chief judge. If the motion is directed at the chief judge,
     the clerk shall refer it to the next senior active judge. Before
27   a ruling is made on a motion to recuse any judge, the challenged
     judge will be afforded an opportunity to review the motion papers
28   and decide whether to recuse voluntarily.”).

                                        12
         Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 13 of 18


 1   the earliest possible moment after obtaining facts demonstrating
 2   a basis for recusal.”     United States v. Bell, 79 F. Supp. 2d
 3   1169, 1172 (E.D. Cal. 1999) (finding that a recusal motion must
 4   be filed as soon as practical because “a prompt application
 5   affords the district judge an opportunity to assess the merits of
 6   the application before taking any further steps that may be
 7   inappropriate for the judge to take” and “avoids the risk that a
 8   party is holding back a recusal application as a fall-back
 9   position in the event of adverse rulings on pending matters”)
10   (internal citations and quotations omitted).
11             As shown by the attached news clipping, the incident at
12   my home occurred in December of 1997.       As such, it was public
13   knowledge before the indictment in this case was filed and the
14   case assigned to me.    It appeared prominently on Page One of the
15   Metro Section, with a photograph of me.       While I cannot say with
16   certainty that all defense counsel knew of it at the time, I know
17   for certain that at least three of them did.        Thongsouk Theng
18   Lattanaphom’s attorney, Jeffrey Staniels, acknowledged in court
19   at the last hearing that he saw the article, and two of the
20   attorneys for the defendants in this case actually represented
21   the young men who burglarized me in the state court proceeding.
22   Son Van Nguyen’s first attorney, James Greiner, represented one
23   of the young men, and Bao Lu’s first attorney, Robert Peters,
24   represented the other.    Mr. Greiner and Mr. Peters would not only
25   have been privy to the information in the news article, but had
26   to be intimately familiar with all of the details of the crime of
27   which I was the victim.
28             Although I recognize that none of those respected

                                        13
         Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 14 of 18


 1   attorneys are the moving force behind the instant motion, if they
 2   thought there was any merit to it, they could have brought the
 3   motion nine years ago.    Instead, none of the defendants or their
 4   attorneys raised it for the first time until now.
 5             Further, Minh Huynh, who is the moving force behind the
 6   motion, has acknowledged in his affidavit that he personally knew
 7   about the incident at my home before his trial began.         He states
 8   specifically:
 9        Special Agent Dupre (FBI), the leading agent in this case
          had warned me, during a deal negotiation session before
10        trial, that Judge Shubb was a victim of a home-invasion
          robbery, and that if I don’t take the deal, Judge Shubb will
11        whack me.
12   (Minh Huynh Aff., Mar. 24, 2008, ¶ 11 (emphasis added)).          Minh
13   Huynh, it must be remembered, was representing himself pro se
14   when the trial began.    He can hardly suggest that anything his
15   attorney said or did precluded him from making the motion.          Yet
16   he failed to raise this ground, or any other ground,4 to
17   disqualify me as the trial judge at that time.
18             “It is enough to say that § 144 makes timely filing of
19   affidavits of bias and prejudice of the essence for the obvious
20   purpose of preventing their use as a device to obtain last minute
21   postponements of trial and to prevent a litigant from sampling
22   the temper of the court before deciding whether or not to file an
23   affidavit of prejudice.”    Peckham v. Ronrico Corp., 288 F.2d 841,
24
25        4
               It is also clear that Minh Huynh knew about the
     firebomb case before the trial began, because he states in his
26   Reply brief that at the time of his meeting with Agent Dupre
     before trial he was afraid I would not accept the government’s
27   recommendation based upon what he knew about the sentence in the
     firebomb case. Yet he also failed to raise that ground until
28   now.

                                        14
         Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 15 of 18


 1   843 (1st Cir. 1961); see also First Nat’l Bank of Peoria v.
 2   Muller, 851 F.2d 916, 919 (7th Cir. 1988) (movant waived any
 3   grounds for making a recusal motion where movant knew the facts
 4   at a preliminary hearing and proceeded to trial without objection
 5   and raised the bias issue only after the judge’s unfavorable
 6   ruling).
 7                  At the time this case was first assigned to me, I was
 8   an active judge of this court.      Under Canon 3 of the Code of
 9   Conduct for United States Judges, a judge must hear and decide
10   all matters assigned to him, unless disqualified.        Thus, as much
11   of a burden as it was upon me,5 I have conducted countless court
12   appearances, heard and decided hundreds of motions, and presided
13   over months of trial testimony with contentious objections in
14   this case.      I must admit that during all that time it never
15   crossed my mind that having been the victim of a crime in 1997
16   could have relieved me altogether of the responsibility for this
17   case.
18                  Defendants seem to think I enjoy sitting in judgment on
19   them.       Nothing could be further from the truth.   This case has
20   taken up more of my time and worked more havoc with my calendar
21   than any other case I have had in the seventeen years I have been
22   on the bench.      I get no more credit for handling this case than I
23   would for any other case in which the defendants just walk into
24   court, plead guilty, and are sentenced.       Yet I have had to spend
25   hundreds of hours on it.      Hardly a day has gone by when I do not
26   worry about what motions or other procedural maneuvers the
27
             5
               This court has the second highest weighted caseload per
28   judge of any district in the United States.

                                         15
           Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 16 of 18


 1   defendants will come up with next.        If the defendants had raised
 2   my prior experience as a ground for recusal when they first could
 3   have, and if it had any merit, I would have welcomed the
 4   opportunity to withdraw from this case.         But they never gave me
 5   that chance until now.
 6                                   Conclusion
 7               All federal judges take an oath to “administer justice
 8   without respect to persons, and do equal right to the poor and to
 9   the rich. . .”     28 U.S.C § 453.     We take that oath seriously.       No
10   judge I know appreciates being charged with bias or unfairness.
11   Anyone who would seriously think that I could let this kind of
12   unrelated personal experience affect my impartiality as a judge
13   in this case doesn’t understand the first thing about me or what
14   it means to be a judge.      Nevertheless, for the reasons discussed
15   above, I will defer the question of whether I am qualified to sit
16   on this case to the sound judgment of another judicial officer.
17               IT IS THEREFORE ORDERED that defendants’ motion to
18   disqualify me as the trial judge in this matter is referred to
19   the Chief Judge for assignment to another judge for decision.             I
20   will not consider any of the pending motions; hear any other
21   motions, applications, or requests; sentence any of the
22   defendants; or perform any other judicial duties in this case or
23   ///
24   ///
25   ///
26   ///
27   ///
28   the related cases in Cr. No. S-96-350, Cr. No. S-99-74, Cr. No.

                                          16
         Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 17 of 18


 1   S-98-233, Cr. No. S-99-148, Cr. No. S-99-149, Civ. No. S-07-1162,
 2   and Civ. No. S-07-2063 until this motion has been finally
 3   resolved.   A copy of this order shall be filed in each of those
 4   cases.
 5   DATED:   May 2, 2008
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                        17
            Case 2:99-cr-00433-WBS Document 1188 Filed 05/02/08 Page 18 of 18


 1                                              EXHIBIT A
 2   JUDGE CONFRONTS BURGLARS IN SOUTH LAND PARK HOME Origin Cynthia
 3   Hubert Bee Staff Writer Publication Date 12/13/1997 Page B1 Section METRO Edition METRO
 4   FINAL Dateline Corrections Memo Body Text William B. Shubb, chief judge of the U.S.
 5   District Court in Sacramento, surprised two young burglars when he went to his South Land Park
 6   home Friday for an early lunch.
 7
 8   Shubb, 59, confronted and conversed with the men before they tackled him and escaped with
 9   some of his belongings, police said.
10
11   "The judge is not injured, except perhaps his pride a little bit," said Mike Nelson, chief deputy
12   U.S. marshal for the Eastern District of California.
13
14   Audrey Lee, a Sacramento police spokeswoman, said Shubb encountered the unarmed intruders
15   in a room off of his garage. The judge's wife was not home at the time, Nelson said.
16
17   "They sat him down, and I guess he made conversation. He said, "Don't take that; it's just a
18   keepsake,' " said Lee.
19
20   "I guess they took what they needed and left."
21
22   Before doing so, said Nelson, the burglars tackled Shubb and ran off. He then dialed 911.
23
24   "He may be pretty short and small, but he's tough," Nelson said of the judge. Graphic Text
25   William B. Shubb
26   Burglars tackled the federal judge and escaped with some of his belongings. Keywords
27
28

                                                      18
